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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




United States of America,

                                   Plaintiff,

v.                                                      Case No. 2:17−cr−20662−DML−EAS
                                                        Hon. David M. Lawson
Celia Washington,
                                   Defendant(s),




                                      NOTICE TO APPEAR

     The following defendant(s) are hereby notified to appear: Celia Washington

   The defendant(s) shall appear before District Judge David M. Lawson at the United States
District Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard, Room
716, Detroit, Michigan, for the following proceeding(s):

       • PLEA HEARING: January 2, 2018 at 10:00 AM



                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                                By: s/S. Pinkowski
                                                    Case Manager

Dated: December 29, 2017
